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                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF VIRGINIA
                           Abingdon Division
UNITED STATES OF AMERICA                       )
                                               )
                  v.                           )
                                               )     Case No. 1:08cr00024-11
OEDIPUS LAVAR MUMPHREY,                        )     MEMORANDUM ORDER
    Defendant                                  )
                                               )

      This matter came before the undersigned on the Request For Admission Pro
Hac Vice filed on behalf of the defendant, (Docket Item No. 260), (Athe Motion@).
The Motion seeks to allow Andrew S. Roskind and Norman D. McKellar, attorneys in
good standing licensed to practice law in Tennessee, to appear in this matter pro hac
vice on behalf of the defendant. Roskind appeared before the court on the Motion on
June 13, 2008. Roskind represented to the court that friends of the defendant had
retained him and his law partner, McKellar, to represent the defendant before this
court. Roskind further requested that he and McKellar be admitted pro hac vice and
allowed to enter an appearance on behalf of the defendant in addition to his court-
appointed counsel, Robert C. Hagan Jr.


      Roskind further represented that the funds used to retain him and McKellar
were paid by persons who had no legal obligation to provide any funds to the
defendant for his defense. He stated that the defendant has no control, claim or access
to the funds paid to them and that he had no reason to believe that these persons could
or would pay any additional sums toward the defendant’s defense. Roskind stated that
he and McKellar understood that if they entered an appearance on behalf of the

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defendant, they would represent the defendant, and that they had explained this to the
persons who had retained them on the defendant’s behalf. Roskind stated that he knew
of no conflict of interest currently presented by their being retained by third parties to
represent the defendant and that he would immediately notify the court should any
such conflict arise in the future. Roskind stated that, while he preferred to represent
the defendant as co-counsel with his local court-appointed attorney, he knew of no
reason why he and McKellar could not adequately represent the defendant in this
matter, assuming that they would be able to apply to the court for funds to obtain
investigative, expert or other services as necessary. The defendant also appeared
before the court on June 13 and stated that he wished to be represented by Roskind
and McKellar, but that he would prefer that they be allowed to represent him along
with his court-appointed counsel.


      In support of the request to be allowed to represent the defendant without the
withdrawal or removal of the defendant’s court-appointed counsel, Roskind provided
the court with the case of United States v. Zelenka, 112 F. Supp. 2d 708 (M.D. Tenn.
1999). In the Zelenka case, the defendant requested and was appointed court-
appointed counsel based on the court’s finding that he was “financially unable to
retain counsel.” 18 U.S.C.A. § 3006A(b) (West 2000 & Supp. 2008). Subsequent to
the appointment of counsel in the Zelenka case, “friends” of the defendant retained a
private attorney who filed a notice of appearance to act as “co-counsel” with the court-
appointed attorney. Based on the court’s findings that the defendant had no control
over, claim to or access to the funds used to retain counsel, and that the interests of
justice would not be served by removing court-appointed counsel at that stage in the
proceedings, the court allowed the retained attorney to enter an appearance in the case

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while allowing the defendant to continue to be represented by court-appointed
counsel. In particular, the court held that since the defendant’s financial condition had
not changed, he remained “financially unable to retain counsel” and, therefore,
remained eligible to be represented by court-appointed counsel under 18 U.S.C. §
3006A(b).


         Based on my research, I can find no other federal court opinion that has adopted
the reasoning of Zelenka.1 Furthermore, I am not persuaded that either the Sixth
Amendment or 18 U.S.C. § 3006A requires this court to provide appointed counsel for
a defendant who has counsel to represent him. The Sixth Amendment of the United
States Constitution states: “In all criminal prosecutions, the accused shall enjoy the
right … to have the Assistance of Counsel for his defense.” U.S. CONST. amend. VI.
The courts have held that the Sixth Amendment’s right of counsel guarantees that a
defendant who cannot afford to hire an attorney has an absolute right to have counsel
appointed for him by the court. See Johnson v. Zerbst, 304 U.S. 458, 463 (1938);
United States v. Johnson, 659 F.2d 415, 416 (4th Cir. 1981). The courts also have held
that the Sixth Amendment protects a defendant’s right to hire and be represented by
counsel of his choice, subject to limited exceptions. See United States v. Inman, 483
F.2d 738, 739-40 (4th Cir. 1973) (citing Powell v. Alabama, 287 U.S. 45, 53 (1932)).
This right to be represented by counsel of the defendant’s choosing does not, however,
extend to a defendant who requires the appointment of counsel. See United States v.
Gonzalez-Lopez, 548 U.S. 140, 151 (2006).



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 The court is aware of at least one other federal case from the Eastern District of Tennessee, United States v.
Bennett, 2008 WL 356529 (E.D. Tenn. Jan. 30, 2008), in which the court refused to adopt the reasoning of the
Zelenka case upon similar motion filed by McKellar.
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        Section 3006A states:
        … In every case in which a person entitled to representation … appears
        without counsel, the United States magistrate judge or the court shall
        advise the person that he has the right to be represented by counsel and
        that counsel will be appointed to represent him if he is financially unable
        to obtain counsel.

18 U.S.C.A. § 3006A(b) (West 2000 & Supp. 2008) (emphasis added). Thus, the
language of the statute itself recognizes that the Sixth Amendment right to appointed
counsel exists only in those cases where a defendant “appears without counsel.”
Federal Rule of Criminal Procedure Rule 44 also states: “A defendant who is unable
to obtain counsel is entitled to have counsel appointed….” FED. R. CRIM. P. 44
(emphasis added).


        In this case, not one, but two attorneys have been retained to represent the
defendant. The defendant has appeared before the court and stated that he desires to
be represented by these attorneys. Also, it appears to the court that 18 U.S.C.
§3006A(e) allows the court to provide funding to obtain investigative, expert or other
services necessary for the adequate representation of any defendant who is
“financially unable” to obtain such services, whether he is represented by appointed or
retained counsel.2 18 U.S.C.A. § 3006A(e)(1) (West 2000 & Supp. 2008).


        Based on the above, the court’s review of the Motion and the arguments and
representations presented on June 13, the Motion is GRANTED insofar as Roskind

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  Both the defendant and counsel should be aware, however, that should they move to obtain court payment for such
services, the court may be required to conduct a more rigorous examination of the defendant’s financial condition,
including examining the source and amount of funds provided for his defense to date.
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and McKellar shall be admitted to practice pro hac vice in this case and shall be
allowed to enter an appearance on behalf of the defendant with the understanding that,
if they do so, the court will relieve court-appointed counsel of any further
responsibility in this case. Is it further ORDERED that any such notice of appearance
by Roskind and McKellar must be filed by no later than July 3, 2008. If such notice is
not filed by this date, court-appointed counsel will continue to represent the defendant.


      The Clerk’s Office shall provide a copy of this Order to all counsel of record
and to Roskind and McKellar.


      ENTER:        June 25, 2008.


                                         /s/   Pamela Meade Sargent
                                               UNITED STATES MAGISTRATE JUDGE




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